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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                                    *
                                    *    CIVIL ACTION NO.: 18-7599
                                    *    CONSOLIDATED WITH: 18-7616
ALEXIS WARREN AND JAMES KELLY *
                                    *    DISTRICT JUDGE SARAH S. VANCE
VERSUS                              *
                                    *    MAGISTRATE JUDGE
ROSSTRANS AND SERVICES, LLC         *    DANIEL E. KNOWLES, III
d/b/a ILC LOGISTICS, GARY BRAIN,    *
AND BERKSHIRE HATHAWAY              *    JURY TRIAL DEMANDED
HOMESTATE INSURANCE COMPANY *
                                    *    This document applies to No. 18-7599.
                                    *
****************************************************
          FIRST AMENDED ANSWER BY BRIAN GARY, ROSSTRANS AND
             SERVICES, LLC d/b/a ILC LOGISTICS, AND BERKSHIRE
               HATHAWAY HOMESTATE INSURANCE COMPANY

       NOW INTO COURT, through undersigned counsel, come defendants, Brian Gary

(incorrectly identified as “Gary Brain”), RossTrans and Services, LLC d/b/a ILC Logistics, and

Berkshire Hathaway Homestate Insurance Company, who, pursuant to Federal Rule of Civil

Procedure 15(a)(2), with the written consent of the opposing parties, desire to amend their original

Answers to the Complaint (Case No. 18-7599, Doc. 1) by Alexis Warren and James Kelly as

follows:

                                                 1.

       By amending paragraph “11” of their original Answers to read:

                                               “11.

       Except as herein admitted, modified, or otherwise explained, the allegations of paragraph

11 of the Complaint are denied.




                                                 1
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       Further answering, the vehicle being driven by defendant, Brian Gary (incorrectly

identified as “Gary Brain”), was owned by Horatiu Cristian Balanean d/b/a C&L Express, LLC.”

                                                  2.

       Defendants, Brian Gary, RossTrans and Services, LLC d/b/a ILC Logistics, and Berkshire

Hathaway Homestate Insurance Company, have previously filed Answers to the plaintiffs’

Complaint and except as modified by this First Amended Answer, incorporate herein each and

every allegation, averment, denial, and affirmative defense set forth therein, including but not

limited to a demand for trial by jury, as through set forth herein in extenso.

                                                  3.

       Counsel for the plaintiffs has consented in writing to the filing of this amendment.

Accordingly, pursuant to Federal Rule of Civil Procedure 15(a)(2), leave of court is not required.

       WHEREFORE, defendants, Brian Gary, RossTrans and Services, LLC d/b/a ILC

Logistics, and Berkshire Hathaway Homestate Insurance Company, pray that this First Amended

Answer be deemed good and sufficient, and that after due proceedings have been had in a trial by

jury as to all issues, there be judgment herein in favor of these defendants, rejecting plaintiffs’

demands at plaintiffs’ costs, with prejudice.

                                                Respectfully submitted,

                                                FAIRCLOTH MELTON SOBEL & BASH, LLC

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                                               ATTORNEYS FOR DEFENDANTS, BRIAN
                                               GARY, ROSSTRANS AND SERVICES, LLC
                                               d/b/a ILC LOGISTICS, and BERKSHIRE
                                               HATHAWAY HOMESTATE INSURANCE
                                               COMPANY


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 15, 2019, a copy of the foregoing First Amended

Answer by Brian Gary, Rosstrans and Services, LLC d/b/a ILC Logistics, and Berkshire Hathaway

Homestate Insurance Company was filed electronically with the Clerk of Court using the CM/ECF

system, which will deliver notice of this filing to all counsel of record.



                                   s/ Franklin “Drew” Hoffmann
                                          OF COUNSEL




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